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                               Exhibit E
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         1              IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
         2
             Case No. 19-cv-00874-RBJ-MEH
         3   ___________________________________________________________________

         4   WARNER BROS. RECORDS, INC., et al.,

         5         Plaintiffs,
             vs.
         6

         7   CHARTER COMMUNICATIONS, INC.

         8        Defendant.
             ___________________________________________________________________
         9

        10              Proceedings before MICHAEL E. HEGARTY, United

        11   States Magistrate Judge, United States District Court for the

        12   District of Colorado, commencing at 3:03 p.m., February 19,

        13   2020, in the United States Courthouse, Denver, Colorado.

        14   ___________________________________________________________________

        15              WHEREUPON, THE ELECTRONICALLY RECORDED PROCEEDINGS

        16   ARE HEREIN TYPOGRAPHICALLY TRANSCRIBED. . .

        17   ___________________________________________________________________

        18                            APPEARANCES

        19              NEEMA SAHNI, JONATHAN SPERLING and MATT OPPENHEIM,

        20   Attorneys at Law, appearing for the Plaintiffs.

        21              ERIN RANAHAN, SEAN ANDERSON, CRAIG JOYCE and

        22   JENNIFER GOLINVEAUX (via phone), Attorneys at Law, appearing

        23   for the Defendant.

        24   ___________________________________________________________________

        25                       DISCOVERY CONFERENCE



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         1   not challenged on things like this and they will go to the

         2   end still claiming a right when they -- if they look deeper.

         3             THE COURT:   Are you doing anything to challenge

         4   that, then, in Cox?

         5             MS. RANAHAN:    I would hope so.     I'm not on the Cox

         6   team, unfortunately or fortunately, depending on how you look

         7   at it, but I believe that's a subject of -- I mean, that --

         8   it just happened here, right, and we're looking at it, you

         9   know, it's interesting that it would -- and they were ordered

        10   to produce the work-for-hire agreements in that case.

        11             So I don't know what the reason was that they

        12   pursued damages claims which now, looking at the face of the

        13   registration so obvious, if it's obvious, why was it in this

        14   case.

        15             THE COURT:   Let me ask you something.

        16             MR. SPERLING:    Yes, Your Honor.

        17             THE COURT:   Are you counsel in Cox?

        18             MR. SPERLING:    I am not, Your Honor, Mr. Oppenheim.

        19             MR. OPPENHEIM:    I was lead counsel for Cox.

        20             THE COURT:   Can I ask you this?

        21             MR. OPPENHEIM:    Happy to.

        22             THE COURT:   Is it acceptable in a federal court

        23   after a jury renders a verdict that there may be a 5

        24   percent -- I'm going to throw out a number, a 5 percent rate

        25   that the collective plaintiffs had no right to the works so



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         1   that that's $50 million?      Is that an acceptable way to

         2   proceed in federal court in a damages case, that you get that

         3   $50 million, even though as a technical matter you weren't

         4   entitled to it?    Is that proper?

         5             MR. OPPENHEIM:      So the answer, I have no idea that

         6   that's not the situation in the slightest.

         7             THE COURT:      No, but hypothetically, is that proper?

         8             MR. OPPENHEIM:      I can't -- Your Honor, I'm not in a

         9   position to opine on that.       The plaintiffs in that case were

        10   sued works that we had every rights to pursue.          The

        11   defendant, counsel on the other side, Winston & Strawn,

        12   defended vigorously on the ownership issue, on the

        13   registration working, on the work-for-hire issue.             They lost

        14   those issues.    We won those issues.

        15             THE COURT:      You mean on the discovery?

        16             MR. OPPENHEIM:      Not only on discovery, Your Honor,

        17   but on summary judgment.      We won summary judgment of

        18   ownership on everyone of the works that we moved on.

        19   Actually, I take that back, there were a handful of works

        20   that we dropped found at the end because of issues, but we're

        21   talking about 10 or 12, I believe.

        22             On the work-for-hire issue, we had an entire

        23   briefing and there was a decision by the Court on the

        24   work-for-hire issue, and the Court decided that if a -- if a

        25   company -- the designation of a copyright registration, of a



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         1   registered and they were before the jury.

         2               THE COURT:    Right, and by -- you don't need to

         3   stand, but you can.      Have you seen the outcome of this 110

         4   sample?

         5               MR. OPPENHEIM:    I have, Your Honor.

         6               THE COURT:    Okay.   And do you believe now that

         7   every plaintiff that prevailed in the Virginia case actually

         8   was the correct legal entity, having the correct ownership

         9   right, every single one, was the correct legal entity having

        10   the correct legal ownership right and is entitled to that

        11   money as a matter of law?      Do you believe that sitting here

        12   today?

        13               MR. OPPENHEIM:    Your Honor, I believe that the

        14   judgment --

        15               THE COURT:    No, no, that's not what I'm asking you.

        16   If you can't answer the question, say you can't answer the

        17   question.

        18               MR. OPPENHEIM:    Your Honor, I'm not sure -- I

        19   can't -- I believe that the judgment that was rendered there

        20   on every single work was an appropriate judgment.      I believe

        21   that the -- not only by the jury, but by the judge.

        22               To the extent that they're now suggesting because

        23   certain works were dropped that we did not -- appear to not

        24   own the works, there is no evidence to suggest that.

        25               THE COURT:    That's not the question I asked you.



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         1   If you can't answer my question, I appreciate that.

         2             MR. OPPENHEIM:    I can't answer your question.

         3             THE COURT:    Okay.

         4             MS. RANAHAN:    Can I just say one thing about what

         5   happened on this issue?

         6             THE COURT:    Yes.

         7             MS. RANAHAN:     In the Cox case, we didn't have the

         8   work-for-hire agreements, so it wasn't before the judge, and

         9   the discovery court didn't allow it, but it wasn't raised

        10   like I'm raising it now.    It was kind of a side issue that

        11   wasn't really emphasized.      Once we got to trial, we realized

        12   we needed this, we didn't have them, so now we're going to

        13   try to get them in this case.

        14             Separately what happened on the Cox rulings for

        15   these issues that were presented on summary judgment, is the

        16   Court struck our declarations finding them to be getting

        17   around the page limit, the attorney declarations trying to

        18   make this argument, so just disregarded all of the chain of

        19   title issues that we found just as a procedural matter saying

        20   these are trying to get around the page number, I'm not going

        21   to read it.   I understand it's dry and boring and long stuff,

        22   but we had a lot of arguments there that were disregarded

        23   procedural.

        24             On top of that, plaintiffs were able to cure any --

        25   they were able to submit declarations that said, Well, we may



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